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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

         Oto Analytics, LLC
             Plaintiff,

                  v.                     Civil No. 23-01034(GMM)cons.

   Benworth Capital Partners PR,         Civil No. 24-01313(GMM)
  LLC; Benworth Capital Partners,
 LLC; Bernardo Navarro and Claudia
             Navarro,
            Defendants.
    Federal Reserve Bank of San
            Francisco,
       Plaintiff-Intervenor,

                  v.

   Oto Analytics, LLC; Benworth
     Capital Partners PR, LLC;
  Benworth Capital Partners, LLC;
   Bernardo Navarro and Claudia
             Navarro,
    Defendants in Intervention.
    Federal Reserve Bank of San
            Francisco,
      Consolidated Plaintiff,

                  v.

   Benworth Capital Partners PR,
  LLC; Benworth Capital Partners,
 LLC; Bernardo Navarro and Claudia
             Navarro,
     Consolidated Defendants.



                             Partial Judgment

     On January 2, 2025, Plaintiff Oto Analytics, LLC (f/k/a Oto

Analytics, Inc. d/b/a Womply) (“Womply”) and Defendants Benworth

Capital Partners PR, LLC; Benworth Capital Partners, LLC; Bernardo
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Navarro and Claudia Navarro filed a Joint Stipulation to Dismiss

with Prejudice. (Docket No. 194). This filing notified the Court

that, as to these parties, a settlement agreement has been reached

and they jointly requested all claims by Womply against Defendants

(the “Womply Action”) be dismissed with prejudice.

     Having been informed that the aforementioned Parties have

reached a settlement, the Court took notice and granted their

request to dismiss the Womply Action. Whereas, pursuant to their

agreement, each party is to bear its own attorneys’ fees, costs,

and expenses. Moreover, pursuant to the order entered at Docket

No. 195, the Court DISMISSES WITH PREJUDICE the claims filed by

Womply against Defendants in the Womply Action.

     All outstanding claims by Plaintiff in Intervention, Federal

Reserve Bank of San Francisco, remain unaffected by this Partial

Judgment.

     IT IS SO ORDERED.
     In San Juan, Puerto Rico, January 2, 2025.




                                        s/Gina R. Méndez-Miró
                                        GINA R. MÉNDEZ-MIRÓ
                                        UNITED STATES DISTRICT JUDGE
